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           In the United States Court of Federal Claims
                                         No. 19-1796C

                                   (E-filed: March 6, 2020) 1

    _________________________________
                                       )
    AMAZON WEB SERVICES, INC.,         )
                                       )
               Plaintiff,              )
                                       )                Bid-Protest; Temporary Restraining
    v.                                 )                Order; Preliminary Injunction;
                                       )                Requirement of Security; RCFC 65.
    THE UNITED STATES,                 )
                                       )
               Defendant,              )
                                       )
    and                                )
                                       )
    MICROSOFT CORP.,                   )
                                       )
               Intervenor-defendant.   )
    __________________________________ )

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Benjamin M. Diliberto, Washington Headquarters Service & Pentagon Force Protection
Agency; and Tyler J. Mullen, Defense Information Systems Agency; of counsel.



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        This opinion was issued under seal on February 13, 2020. Pursuant to ¶ 4 of the ordering
language, the parties were invited to identify source selection, proprietary or confidential
material subject to deletion on the basis that the material was protected/privileged. The proposed
redactions were acceptable to the court. All redactions are indicated by brackets ([ ]).
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                                   OPINION AND ORDER

CAMPBELL-SMITH, Judge.

        On January 22, 2020, plaintiff filed a motion for temporary restraining order
(TRO) and preliminary injunction (PI), pursuant to Rule 65 of the Rules of the United
States Court of Federal Claims (RCFC). 2 See ECF No. 130. In ruling on the motion, the
court has also considered: (1) the administrative record (AR), ECF No. 107 (notice of
filing the AR); 3 (2) intervenor-defendant’s response in opposition to plaintiff’s motion,
ECF No. 137; (3) defendant’s response in opposition to plaintiff’s motion, ECF No. 139;
and (4) plaintiff’s reply in support of its motion, ECF No. 144. The motion is ripe for
ruling, and the court deems oral argument unnecessary. For the following reasons,
plaintiff’s motion for a preliminary injunction is GRANTED.

I.     Background

        This protest action was filed on November 22, 2019. See ECF No. 1. The case
involves considerable detail, but for purposes of deciding this motion, the court will
relate only those details that are necessary to the instant analysis.

     Plaintiff filed this action to protest the United States Department of Defense’s
(DOD) decision to award the Joint Enterprise Defense Infrastructure (JEDI) contract to

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       The court notes that RCFC 65 differentiates between preliminary injunctions (PI) and
temporary restraining orders (TRO) primarily on the basis of notice to the opposing parties.
Specifically, when the opposing party has notice, the relief requested is a PI. See RCFC 65(a).
When no notice is given, the relief requested is a TRO with a duration limited to fourteen days,
absent an extension. See RCFC 65(b). Although plaintiff has nominally requested both a PI and
a TRO, the court considers its motion as a request for a PI because defendant and intervenor-
defendant have each been afforded an opportunity to respond to plaintiff’s arguments. As such,
any separate request for a TRO is moot.
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         The administrative record (AR) in this case is comprised of an unusually large number of
files in a variety of formats, some of which were incompatible with filing through the court’s
case management/electronic case filing (CM/ECF) system. The court, therefore, departed from
its usual practice of requiring defendant to file the AR through CM/ECF, and ordered defendant
to file the AR on encrypted external hard drives. See ECF No. 98 (order).


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intervenor-defendant, under Solicitation No. HQ0034-18-R-0077 (solicitation). See id. at
1; ECF No. 130 at 1 (identifying the resulting contract as Contract No. HQ0034-20-D-
0001). As alleged by plaintiff in the complaint, the JEDI program is DOD’s “plan to
upgrade and consolidate its cloud computing infrastructure across [DOD], which would
enable [DOD] to employ ‘emerging technologies to meet warfighter needs’ and maintain
‘our military’s technological advantage.’” 4 Id. at 17 (citation omitted).

       DOD issued the JEDI solicitation on July 26, 2018. Id. at 18. After reviewing
proposals, the source selection authority was to make an award determination on a best-
value basis. The source selection plan stated: “The objective of this source selection is,
through a competitive solicitation process, to select the Offeror whose proposed solution
for JEDI Cloud represents the best value to the Government.” See AR at 64340.
Following the evaluation process, DOD publicly announced, on October 25, 2019, that it
had awarded the JEDI contract to intervenor-defendant. See ECF No. 1 at 90.

        In both its complaint and its motion for injunctive relief, plaintiff describes the
solicitation’s evaluation factors and alleges a host of errors in their application. See
generally, ECF No. 1, ECF No. 130-1. The factor most critical to the court’s present
analysis, however, is Factor 5, which addresses “the Offeror’s proposed approach to
application and data hosting.” AR at 151496, 151506. As part of the technical proposals
under Factor 5, the offerors were instructed to submit price proposals based on various
factual scenarios. See id. at 151496. The agency was then to evaluate the proposals for
each Price Scenario to determine whether the proposal was a “technically feasible
approach when considering the application and data hosting requirements in Section L for
this Factor and the specific scenario requirements in Attachment L-2.” Id. at 151506.
See also id. at 151496 (Section L requirements); id. at 198-217 (Attachment L-2 Price
Scenarios requirements).

        Plaintiff’s allegations of improper evaluation analyzed in this opinion relate
specifically to Price Scenario 6, in which each offeror is instructed to propose prices on
facts related to its “Containerized Data Analysis Framework.” See ECF No. 130-1 at 16-
20; AR at 215. The Price Scenarios were revised through Amendment 005, which

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       Plaintiff offers the following definition of the term cloud computing:

       “Cloud Computing” refers to a shared pool of configurable computing resources
       (e.g., networks, servers, storage, applications, and services) that can be rapidly
       provisioned and released with minimal management effort or service provider
       interaction. Cloud computing is an alternative to traditional “on-premises”
       information technology resources, which require users to plan, procure, manage,
       and maintain physical computing resources (i.e., servers).

ECF No. 1 at 17.

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instructed offerors to “[a]ssume that all data in these price scenarios is highly accessible
unless otherwise stated.” AR at 64310. The amended version of Price Scenario 6 did not
expressly state that the “highly accessible” assumption did not apply. See id. at 64327-
29. It did, however, use the similar term “highly available” in several instances. Id.

       After DOD issued Amendment 005, an offeror sought the following clarification:

       The Government has introduced a new term “highly accessible” without
       definition. Could the government confirm that the term “highly accessible”
       is defined as either “Online Storage” or “Nearline Storage” as defined in
       Attachment J-8?

Id. at 64332. In response, DOD stated: “The term ‘Highly Accessible’ is meant to be
understood as online and replicated storage.” Id. (emphasis added).

        The solicitation defines online storage as “[s]torage that is immediately accessible
to applications without human intervention.” Id. at 650. And it defines nearline storage
to mean “[s]torage not immediately available, but can be brought online quickly without
human intervention.” Id. The solicitation does not define the term “replicated storage,”
but plaintiff reads this to be a separate characteristic of the required storage from its
designation as online, based on its understanding of the term as a reference to “the
practice of storing data more than once so that there are multiple copies of the data.”
ECF No. 130-1 at 17. Neither defendant nor intervenor-defendant offers an alternative
definition for “replicated storage” in their responses. See ECF No. 137, ECF No. 139.

        Plaintiff alleges that intervenor-defendant’s proposal under Factor 5, Price
Scenario 6 proposed [ ] storage rather than online storage, in contravention of the
solicitation requirement reflected in Amendment 005 and the subsequent DOD
clarification. See ECF No. 130-1 at 18. Intervenor-defendant’s proposal for Price
Scenario 6 proposes [ ] storage, see AR at 174754-57. And as defined in intervenor-
defendant’s proposal, [ ] storage is [ ] storage, [ ]. Id. at 173315.

       In its source selection report, the Price Evaluation Board (PEB) stated that plaintiff
proposed online storage for Price Scenario 6, and that intervenor-defendant proposed [ ]
storage for Price Scenario 6. The PEB attributed the price difference between the two
proposals, in part, to this difference.

       5.5.6.1. [Plaintiff] proposed a total price of $[ ] for Price Scenario 06.
       Approximately [ ]% of [plaintiff’s] price before adjustments was in the
       Storage category with a value of $[ ]. [Plaintiff’s] proposed discounting
       strategy resulted in an adjustment of $[ ], or a [ ]% decrease in price. The
       significant variance in price from [intervenor-defendant] was attributed
       to a technical approach where [plaintiff] proposed their [ ] online storage

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       in so [sic] they could [ ]. A separate MFR was completed to document
       their rationale and was identified in the IPR Memo.

       5.5.6.2. [Intervenor-defendant] proposed a total price of $[ ] for Price
       Scenario 06. Approximately [ ]% of [intervenor-defendant’s] price
       before adjustments was in the Storage category with a value of $[ ].
       [Intervenor-defendant’s] proposed discounting strategy resulted in an
       adjustment of $[ ], or a [ ]% decrease in price. The significant variance
       in price from [plaintiff] was attributed to the technical approach where
       [intervenor-defendant] proposed their [ ] storage solution which meets
       the technical feasibility requirements and offers a [ ] unit price.

Id. at 176363 (emphasis added). The crux of plaintiff’s argument on this point is that the
PEB erred in concluding that intervenor-defendant’s [ ] storage met “the technical
feasibility requirements,” because, pursuant to Amendment 005 and DOD’s clarification
thereof, offerors were required to propose online storage. ECF No. 130-1 at 17-18.
Plaintiff contends that as a result of intervenor-defendant’s “noncompliant storage
solution,” DOD “should have found [intervenor-defendant’s] technical approach
unfeasible, assigned a deficiency, and eliminated Microsoft from the competition.” Id. at
19.

       For this reason, among others, plaintiff asks the court to issue a preliminary
injunction, “to prevent Defendant United States from proceeding under Contract No.
HQ0034-20-D-0001, which was awarded under Solicitation No. HQ0034-18-R-0077-
0002 to [intervenor-defendant], until [plaintiff’s] protest is resolved.” ECF No. 130 at 1.

II.    Legal Standards

       A.     Bid Protests

       In its complaint, plaintiff invokes this court’s bid protest jurisdiction. See ECF
No. 1 at 15-16. This court’s bid protest jurisdiction is based on the Tucker Act, which
gives the court authority:

       to render judgment on an action by an interested party objecting to a
       solicitation by a Federal agency for bids or proposals for a proposed contract
       or to a proposed award or the award of a contract or any alleged violation of
       statute or regulation in connection with a procurement or a proposed
       procurement. . . . without regard to whether suit is instituted before or after
       the contract is awarded.

28 U.S.C. § 1491(b)(1) (2012). The Tucker Act also states that the court may grant “any
relief the court considers proper . . . including injunctive relief.” 28 U.S.C. § 1491(b)(2).

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       The court’s analysis of a “bid protest proceeds in two steps.” Bannum, Inc. v.
United States, 404 F.3d 1346, 1351 (Fed. Cir. 2005). First, the court determines,
pursuant to the Administrative Procedure Act standard of review, whether the “agency’s
action was arbitrary, capricious, an abuse of discretion, or otherwise not in accordance
with [the] law.” Glenn Def. Marine (ASIA), PTE Ltd. v. United States, 720 F.3d 901,
907-08 (Fed. Cir. 2013) (citing 28 U.S.C. § 1491(b)(4) (adopting the standard of 5 U.S.C.
§ 706)). If the court finds that the agency acted in error, the court then must determine
whether the error was prejudicial. See Bannum, 404 F.3d at 1351.

        To establish prejudice, “a protester must show ‘that there was a substantial chance
it would have received the contract award but for that error.’” Alfa Laval Separation, Inc.
v. United States, 175 F.3d 1365, 1367 (Fed. Cir. 1999) (quoting Statistica, Inc. v.
Christopher, 102 F.3d 1577, 1582 (Fed. Cir. 1996)). “In other words, the protestor’s
chance of securing the award must not have been insubstantial.” Info. Tech. &
Applications Corp. v. United States, 316 F.3d 1312, 1319 (Fed. Cir. 2003). The
substantial chance requirement does not mean that plaintiff must prove it was next in line
for the award but for the government’s errors. See Sci. & Mgmt. Res., Inc. v. United
States, 117 Fed. Cl. 54, 62 (2014); see also Data Gen. Corp. v. Johnson, 78 F.3d 1556,
1562 (Fed. Cir. 1996) (“To establish prejudice, a protester is not required to show that but
for the alleged error, the protester would have been awarded the contract.”). But plaintiff
must, at minimum, show that “had the alleged errors been cured, . . . ‘its chances of
securing the contract [would have] increased.’” Precision Asset Mgmt. Corp. v. United
States, 125 Fed. Cl. 228, 233 (2016) (quoting Info Tech., 316 F.3d at 1319).

        Given the considerable discretion allowed contracting officers, the standard of
review is “highly deferential.” Advanced Data Concepts, Inc. v. United States, 216 F.3d
1054, 1058 (Fed. Cir. 2000). As the Supreme Court of the United States has explained,
the scope of review under the “arbitrary and capricious” standard is narrow. See
Bowman Transp., Inc. v. Arkansas-Best Freight Sys., Inc., 419 U.S. 281, 285 (1974). “A
reviewing court must ‘consider whether the decision was based on a consideration of the
relevant factors and whether there has been a clear error of judgment,” and “[t]he court is
not empowered to substitute its judgment for that of the agency.’” Id. (quoting Citizens
to Preserve Overton Park v. Volpe, 401 U.S. 402, 416 (1971)); see also Weeks Marine,
Inc. v. United States, 575 F.3d 1352, 1368-69 (Fed. Cir. 2009) (stating that under a highly
deferential rational basis review, the court will “sustain an agency action ‘evincing
rational reasoning and consideration of relevant factors’”) (citing Advanced Data
Concepts, 216 F.3d at 1058).
       B.     Injunctive Relief

       Injunctive relief before trial is a “drastic and extraordinary remedy that is not to be
routinely granted.” Nat’l Steel Car, Ltd. v. Canadian Pac. Ry., Ltd., 357 F.3d 1319, 1324

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(Fed. Cir. 2004) (citation omitted). As the United States Court of Appeals for the Federal
Circuit has held:

       To determine if a permanent injunction is warranted, the court must consider
       whether (1) the plaintiff has succeeded on the merits, (2) the plaintiff will
       suffer irreparable harm if the court withholds injunctive relief, (3) the balance
       of hardships to the respective parties favors the grant of injunctive relief, and
       (4) the public interest is served by a grant of injunctive relief.

Centech Grp., Inc. v. United States, 554 F.3d 1029, 1037 (Fed. Cir. 2009) (citing PGBA,
LLC v. United States, 389 F.3d 1219, 1228-29 (Fed. Cir. 2004)). The court considers the
same factors in evaluating whether a preliminary injunction is warranted. See Am.
Signature, Inc. v. United States, 598 F.3d 816, 823 (Fed. Cir. 2010) (citations omitted).
The decision of whether injunctive relief is appropriate falls within the court’s discretion.
Dell Fed. Sys., L.P. v. United States, 906 F.3d 982, 991 (Fed. Cir. 2018) (citing PGBA,
389 F.3d at 1223).

III.   Analysis

       A.     Preliminary Injunction Factors

              1.     Likelihood of Success on the Merits

        In order to succeed on the merits of its bid protest, plaintiff must demonstrate: (1)
that the “agency’s action was arbitrary, capricious, an abuse of discretion, or otherwise
not in accordance with [the] law,” Glenn Def., 720 F.3d at 907-08; and (2) that the error
was prejudicial, see Bannum, 404 F.3d at 1351.

                     a.      Plaintiff Is Likely to Show Defendant Erred in Evaluating
                             Intervenor-Defendant’s Factor 5, Price Scenario 6

        Plaintiff argues that it is likely to succeed on the merits with regard to its
allegations that the DOD improperly evaluated intervenor-defendant’s Price Scenario 6
based on a plain reading of the requirements and definitions in the solicitation, the
relevant amendment thereto, and the clarification issued by the DOD, as recited above.
More specifically, plaintiff alleges that intervenor-defendant’s Price Scenario 6 proposal
fails to comply with the requirement that storage be “highly-accessible,” a term defined
as “online and replicated storage.” AR at 64332. Had the DOD properly evaluated
intervenor-defendant’s proposal of [ ] storage in Price Scenario 6, according to plaintiff,
the DOD would have concluded that the proposal was “noncompliant,” and “should have
found [intervenor-defendant’s] technical approach unfeasible, assigned a deficiency, and
eliminated [intervenor-defendant] from the competition.” ECF No. 130-1 at 19.


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        As an initial matter, neither defendant nor intervenor-defendant dispute that the
solicitation required the proposals under Price Scenario 6 to include “highly-accessible,”
or online, storage. See ECF No. 139 at 27 (defendant stating that “[f]or Price Scenario 6,
[plaintiff] is correct that the solicitation did not specify a storage type, and that, under the
terms of Amendment 0005, offerors were to “‘[a]ssume that all data in these price
scenarios is highly accessible unless otherwise stated’”); ECF No. 137 at 18 (intervenor-
defendant arguing that its “proposed solution to Price Scenario 6 meets the [solicitation’s]
requirement for ‘highly accessible’ storage”).

       Rather than dispute the applicable storage requirement, defendant makes two
arguments. First, defendant contends that plaintiff “seeks to elevate superficial labels
over technical performance,” and second, that if correct, plaintiff “would have been as
technically deficient as [intervenor-defendant], and so would be in no position to
complain of prejudice.” ECF No. 139 at 27. 5

        With regard to its first argument, defendant claims that plaintiff “fails to recognize
that the storage that [intervenor-defendant] proposed for Price Scenario 6, despite parts of
it being marketed by [intervenor-defendant] as ‘[ ] storage,’ meets the solicitation
definition of ‘online storage’—that is, it is immediately accessible to applications without
human intervention.” Id. at 28. In support of this assertion, defendant cites to specific
features of intervenor-defendant’s proposal that, it argues, amount to immediate access,
but defendant does not identify any part of the record in which the DOD made such an
equivalence determination during the evaluation process. See ECF No. 139 at 28-29.

        Defendant cites instead to the Technical Evaluation Board’s (TEB) Consensus
Report in which the TEB determines that intervenor-defendant’s Price Scenario 6 is
“technically feasible,” and argues that such a determination was within the DOD’s
discretion. See id. at 29. (citing AR at 151327-28). The cited section of the report,
however, does not discuss the application of the terms “highly accessible,” “highly
available,” “online,” or “nearline,” to intervenor-defendant’s proposal. See AR at
151327-28. Thus, defendant has not identified any evidence in the record that the DOD’s
decision to deem intervenor-defendant’s proposal as “technically feasible” resulted from
an exercise of discretion, nor does it explain how the DOD’s discretion could extend so
far as to allow it to depart from the precise and explicit definition of the term “highly
accessible.”


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        The court has carefully reviewed intervenor-defendant’s arguments relating to its
inclusion of [ ] storage in its proposal for Price Scenario 6. See ECF No. 137 at 17-23. In the
interest of honoring the parties’ request for an expedited ruling on this motion, the court will
only address intervenor-defendant’s arguments that are both material and substantively different
from defendant’s.


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        Defendant’s second argument—that if intervenor-defendant’s proposal is deficient
so is plaintiff’s—likewise fails to effectively address plaintiff’s claims. As an initial
matter, the assertion that plaintiff’s proposal suffered from the same deficiency as
intervenor-defendant’s does not necessarily lead to the conclusion that either deficiency
should be overlooked. Moreover, the record appears unlikely to support this argument.
Plaintiff cites to evidence in the record that, while [ ] storage was part of its Price
Scenario 6 proposal, its proposal primarily relied on, and certainly included, online
storage. See ECF No. 144 at 10-11 (citing AR at 152866-67).

       The court concludes that—based on the portions of the record cited by the parties
and the arguments made thereon—plaintiff is likely to demonstrate that defendant erred
in determining that intervenor-defendant’s Factor 5, Price Scenario 6 was “technically
feasible” according to the defined terms of the solicitation.

                     b.     Plaintiff Is Likely to Show Prejudice

        In addition, the court finds that plaintiff is likely to demonstrate that defendant’s
error was prejudicial, i.e., that plaintiff’s chance of securing the award was not
insubstantial absent the error. See Info. Tech., 316 F.3d at 1319. To show prejudice,
plaintiff is not required to prove it was next in line for the award but for defendant’s
errors. See Data Gen., 78 F.3d at 1562 (“To establish prejudice, a protester is not
required to show that but for the alleged error, the protester would have been awarded the
contract.”). But plaintiff must, at a minimum, show that “had the alleged errors been
cured, . . . ‘its chances of securing the contract [would have] increased.’” Precision Asset
Mgmt. Corp. v. United States, 125 Fed. Cl. 228, 233 (2016) (quoting Info Tech., 316
F.3d at 1319).

        Plaintiff takes the position that upon a finding that intervenor-defendant’s proposal
of [ ] storage was “noncompliant,” defendant “should have found [intervenor-
defendant’s] technical approach unfeasible, assigned a deficiency, and eliminated
[intervenor-defendant] from the competition.” ECF No. 130-1 at 19. Plaintiff also
argues that this improper evaluation resulted in a skewed price analysis. See id. at 20-22.

        Under the terms of the Source Selection Plan, a “deficiency” is defined as: “A
material failure of a proposal to meet a Government requirement or a combination of
significant weakness[es] in a proposal that increases the risk of unsuccessful contract
performance to an unacceptable level.” AR at 64355. The court has concluded that it is
likely plaintiff will demonstrate that intervenor-defendant proposed [ ] storage when the
solicitation explicitly required online storage. In the context of a procurement for cloud
computing services, the court considers it quite likely that this failure is material. As
such, plaintiff likely is correct that defendant should have assigned a deficiency to
intervenor-defendant’s proposal for Factor 5, Price Scenario 6.


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        In making its case that it was prejudiced by this evaluation error, plaintiff does not
only rely on its allegation that this deficiency should have resulted in defendant
eliminating intervenor-defendant from competition. Plaintiff also points to the PEB
evaluation, which specifically attributes a price difference of $[ ] between plaintiff’s and
intervenor-defendant’s proposals to the fact that plaintiff proposed online storage while
intervenor-defendant proposed [ ] storage. Defendant claims that “while demonstrating
that [intervenor-defendant’s] proposed storage costs for this price scenario were [ ] than
[plaintiff’s], [plaintiff] does not illuminate why that is the case.” ECF No. 139 at 31.
According to defendant, the price difference is attributable to the different discounts
offered by each offeror. See id. The PEB, however, explained the reasons for the price
difference in its source selection report:

       5.5.6.1.     [Plaintiff] proposed a total price of $[ ] for Price Scenario
       06. Approximately [ ]% of [plaintiff’s] price before adjustments was in
       the Storage category with a value of $[ ]. [Plaintiff’s] proposed
       discounting strategy resulted in an adjustment of $[ ], or a [ ]% decrease
       in price. The significant variance in price from [intervenor-
       defendant] was attributed to a technical approach where [plaintiff]
       proposed their [ ] online storage in so [sic] [ ]. A separate MFR was
       completed to document their rationale and was identified in the IPR
       Memo.

       5.5.6.2.     [Intervenor-defendant] proposed a total price of $[ ] for
       Price Scenario 06. Approximately [ ]% of [intervenor-defendant’s] price
       before adjustments was in the Storage category with a value of $[ ].
       [Intervenor-defendant’s] proposed discounting strategy resulted in an
       adjustment of $[ ], or a [ ]% decrease in price. The significant variance
       in price from [plaintiff] was attributed to the technical approach
       where [intervenor-defendant] proposed their [ ] storage solution
       which meets the technical feasibility requirements and offers a [ ] unit
       price.

AR at 176363 (emphasis added).

      After considering the portions of the record identified by the parties and the
argument made thereon, the court considers it likely that plaintiff’s chances of receiving
the award would have increased absent defendant’s evaluation error. Even if what
appears to be a deficiency did not result in intervenor-defendant’s elimination from
competition, a reduction in the $[ ] price advantage attributed by the PEB to intervenor-
defendant’s use of [ ] storage likely would affect the price evaluation, which in turn,
would affect the best value determination.



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        Accordingly, the court concludes that plaintiff is likely to succeed on the merits of
its argument that the DOD improperly evaluated intervenor-defendant’s Factor 5, Price
Scenario 6.

               2.      Irreparable Harm

        “A preliminary injunction will not issue simply to prevent a mere possibility of
injury, even where prospective injury is great. A presently existing, actual threat must be
shown.” Qingdao Taifa Grp. v. United States, 581 F.3d 1375, 1379 (2009) (quoting
Zenith Radio Corp. v. United States, 710 F.2d 806, 809 (Fed. Cir. 1983)). Here, plaintiff
argues that it “will suffer irreparable harm without injunctive relief” because it has no
“‘adequate remedy in the absence of an injunction.’” ECF No. 130-1 at 57 (quoting
NetStar-1 Gov’t Consulting, Inc. v. United States, 101 Fed. Cl. 511, 530 (2011), aff’d,
473 F. App’x 902 (Fed. Cir. 2012)). According to plaintiff, “in the absence of a
temporary restraining order and preliminary injunction, [plaintiff] could lose the
opportunity to perform the JEDI Contract, earn the revenue and profits resulting from
contract performance, ensure its technology is widely used by [the DOD], and gain
additional experience working for the Government.” Id.

      In support of these assertions, plaintiff has filed the declaration of Jennifer
Chronis. Ms. Chronis is plaintiff’s General Manager for its business with the DOD. See
ECF No. 130-2 at 13. She declares, in relevant part, that intervenor-defendant’s

       continued performance of the JEDI Contract would provide [intervenor-
       defendant] with an unfair competitive advantage in any recompetition of the
       JEDI Contract resulting from [plaintiff’s] protest. Any additional contract
       performance would give [intervenor-defendant] access to further non-public
       information that would allow [intervenor-defendant] (but not [plaintiff]) to
       better tailor any revised proposal submitted in a JEDI recompetition.

Id. at 14. She adds that plaintiff “has already begun to feel the impact of the JEDI award
with the [ ]. Id. This delay will harm plaintiff because it [ ]. Id. at 14-15. Ms. Chronis
further states that plaintiff will lose customers to the JEDI program, starting with
customers who will participate in the pilot stage of the program during the contract
transition period. 6 Id. at 15.




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        Defendant disputes plaintiff’s claim that plaintiff will lose customers during the pilot
stage of the JEDI program. See ECF No. 139-1 at 5-6 (declaration of Sharon Woods, Director
and Program Manager for the Cloud Computing Program Office at the DOD). The court does
not have sufficient facts to resolve this dispute, and as such, will not weigh this alleged harm in
its analysis.
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        Defendant argues that plaintiff’s claims of irreparable harm are too speculative
and generic to support an injunction, and insists that any harm plaintiff may suffer would
not be irreparable. See ECF No. 139 at 60-62. The court disagrees. Plaintiff has
identified specific losses reasonably expected during the transition period including the
loss of competitive advantage in any renewed competition, and damage to plaintiff’s
ability to serve its customers. These are precisely the types of injuries that this court has
previously found to constitute irreparable harm. See, e.g., NetStar-1, 98 Fed Cl. 735
(holding that the loss of competitive advantage during a transition period constitutes
irreparable harm and justifies preliminary injunctive relief); Serco, Inc. v. United States,
81 Fed. Cl. 463, 502 (2008) (noting that loss derived “from a lost opportunity to compete
on a level playing field for a contract, has been found sufficient to prove irreparable
harm”) (citations omitted); Hospital Klean of Tex., Inc. v. United States, 65 Fed. Cl. 618,
624 (2005) (stating that lost profits “stemming from a lost opportunity to compete for a
contract on a level playing field [have] been found sufficient to constitute irreparable
harm.” (citations omitted)).

       Defendant also argues that any damage plaintiff may suffer is not irreparable
because the DOD “has broad discretion to take action during any renewed competition to
neutralize any unfair competitive advantage that may then exist.” ECF No. 139 at 61.
The court, however, cannot accept an agency’s prospective offer to use its discretion to
mitigate what otherwise appears to be irreparable harm caused by an abuse of that
discretion. The court is constrained to make its ruling based on the record before it, not
based on actions that may be taken in future.

        Intervenor-defendant objects to a finding of irreparable harm, in part, because
plaintiff “waited nearly 90 days before asking the Court to take the extraordinary step of
issuing a temporary restraining order and preliminary injunction.” ECF No. 137 at 60.
According to intervenor-defendant, this delay “undercut[s] [plaintiff’s] claim of
irreparable harm.” Id. Intervenor-defendant does not identify the date on which it begins
its 90-day calculation, but the record in the case shows that plaintiff filed its complaint on
November 22, 2019, see ECF No. 1 (complaint); the parties filed an agreed-upon briefing
schedule, which includes deadlines for plaintiff’s instant motion, on January 13, 2020,
see ECF No. 111 (joint status report); and the motion was filed on January 22, 2020, see
ECF No. 130.

        The court agrees that the delay weakens plaintiff’s claim of irreparable harm, but
does not find that it invalidates plaintiff’s position altogether. Whatever harm defendant
and intervenor-defendant may have suffered as a result of its delay, plaintiff has
demonstrated that it will continue to suffer irreparable harm between now and the time
that the merits of this dispute are finally resolved. As such, the court concludes that this
factor weighs in plaintiff’s favor.



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               3.     Balance of Hardships

        Plaintiff argues that neither defendant nor intervenor-defendant will suffer if the
court issues the requested injunction. See ECF No. 130-1 at 59. Plaintiff summarizes its
argument as follows:

       All of [DOD’s] cloud computing needs, include those for the pilot program
       agencies, are being satisfied today by existing cloud contracts with [plaintiff,
       intervenor-defendant], and other providers. And a host of existing contract
       vehicles for cloud computing services are available for the military’s
       immediate and approaching requirements. In fact, [DOD] has at its disposal
       more than 600 cloud initiatives across the Department. Contrary to the
       Government’s insinuations, no [DOD] command or agency is waiting for the
       JEDI Contract to fulfill current cloud computing needs. A brief delay in JEDI
       Contract performance during the pendency of the protest to allow for the
       adjudication of serious claims of procurement irregularities will not deprive
       [DOD] of the means to satisfy its cloud computing needs.

Id. at 59-60 (internal citations omitted).

       According to defendant, however, the balance of hardships factor weighs heavily
against issuing an injunction due to the impact a delay in the JEDI program would have
on national security, and the attendant cost. See ECF No. 139 at 62-68. In support of this
assertion, defendant submits the declarations of several military officers. 7 Mr. David
Spirk, [ ]. See ECF No. 139-2 at 1-3. Lieutenant General Bradford J. Shwedo, Director
for Command, Control, Communications, and Computers/Cyber (C4), Chief Information
Officer, Joint Staff, refers to cloud computing services as “critical,” and states that they
are currently non-existent “across most of DOD.” ECF No. 139-4 at 2-3.

       Defendant also argues that an interruption in the JEDI program will result in
“unrecoverable financial harm totaling between five and seven million dollars per month
of delay.” ECF No. 139 at 67 (citing ECF No. 139-3 at 6 (declaration of [ ])). [ ], who
serves as [ ] submitted a declaration to support that estimated loss. See ECF No. 139-3.
Therein, [ ] details the methods that he used to calculate the loss by piecing together the
7
        Defendant also filed several classified declarations from “senior leaders of the [DOD]
Joint Artificial Intelligence Center (JAIC), Army Special Forces, and Project Maven [who] attest
to the specific impact that any injunction would have on the critical missions of those
organizations.” ECF No. 139 at 65; ECF No. 114 and ECF No. 138 (notices of filing classified
information). Defendant includes no substantive discussion of these classified declarations. The
court has reviewed the declarations, and has determined that their content does not alter the
court’s analysis. As such, the court omits specific discussion of these classified declarations, as
defendant did.
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services that would be available under the JEDI program from other available products.
See id. at 3-6. [ ] explains that:

        if [DOD] customers were to use [plaintiff’s] contracts instead of JEDI, the
        cost to [DOD] would be nearly double. Spread across JEDI’s two[-]year
        base period, . . . result[ing] in a projected cost increase of $198.76 million.
        Likewise, if [DOD] were to use current [intervenor-defendant’s] government
        contract offerings (other than JEDI) instead of [plaintiff’s], the escalation,
        factored over the two-year base period of the JEDI contract, results in a
        projected cost increase of approximately $115.4 million. [DOD] would
        reasonably expect cost to range somewhere between these two figures. The
        ultimate harm to [DOD] would depend upon what share of cloud services
        that would have been provided under JEDI that are ultimately provided by
        [plaintiff] or [intervenor-defendant] under other already-available contracts.

Id. at 6.

       For its part, intervenor-defendant argues that the balance of hardships factor
weighs against plaintiff because intervenor-defendant has invested “hundreds of millions
of dollars to prepare for JEDI’s imminent operational date,” ECF No. 137 at 60, and
“[o]ther efforts that [intervenor-defendant] has invested in over the past three months of
JEDI contract performance will also be wasted if an injunction issues,” id. at 63.

       The court does not question the importance of the JEDI program, and understands
the urgent desire to have the services thereunder made available to defendant as soon as
possible. The national security implications certainly weigh in defendant’s favor. See
Aero Corp., S.A. v. United States, 38 Fed. Cl. 237, 241-42 (1997) (stating that when
national security issues are implicated, it “clearly places the weight of the balance-of-
harms factor on defendant’s side of the scale”). As defendant itself acknowledges,
however, this procurement is complex and conducting it correctly is necessarily time-
consuming. It states that:

        [DOD] has consistently moved expeditiously to acquire and field this new
        capability, while vigilantly insisting on a fair competition to obtain the best
        product, serving the interests of the nation and the competitors. Irrespective
        of the urgency, a procurement of this magnitude cannot be conducted
        overnight. The time [DOD] took to validate its requirements and issue a
        solicitation accurately describing its needs supported, rather than detracted
        from, the urgent need to field the right capabilities.

ECF No. 139 at 66. In the court’s view, a delay now—in order to ensure the procurement
was properly conducted—serves the same ends as those that defendant has thus far
worked so hard to achieve.

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       Moreover, defendant indicates that the primary harm it will suffer will be
inconvenience and expense, rather than the inability to carry out national security
functions. It states:

       although any injunction will cause significant harm to national security,
       [DOD] will, of course, seek to mitigate that harm and achieve its mission to
       protect the Nation. If necessary, it will pursue inferior alternative measures
       to fill in for the capabilities it is unable to obtain through JEDI. Such
       alternatives come with a significant financial cost to American taxpayers,
       however—[DOD] calculates that delayed performance of the JEDI contract
       will result in unrecoverable financial harm totaling between five and seven
       million dollars per month of delay.

Id. at 67 (citing ECF No. 139-3 at 6 (declaration of [ ])).

       Taken together the parties’ arguments make clear that the benefits of the JEDI
program, while no doubt significant, are prospective. Put another way, a delay in the
JEDI program would simply require defendant to continue using the means by which it is
presently accomplishing its important missions until the court can determine whether the
procurement at issue was properly conducted. The court recognizes the considerable
potential cost—to both defendant and intervenor-defendant—involved in such a delay.
A mechanism to ameliorate such damages, however, is found in RCFC 65(c), which
provides: “The court may issue a preliminary injunction . . . only if the movant gives
security in an amount that the court considers proper to pay the costs and damages
sustained by any party found to have been wrongfully enjoined or restrained.” The court
will require such security in this case to protect defendant and intervenor-defendant, and
will address the amount it deems proper below.

        In the final analysis, the balance of harms weighs against plaintiff, but for the most
part, the harms that defendant or intervenor-defendant may suffer can be offset by the
continued use of presently-available technology and the requirement for plaintiff to give
adequate security pursuant to RCFC 65(c).

              4.     Public Interest

       “There is an overriding public interest in preserving the integrity of the
procurement process by requiring the government to follow its procurement regulations.”
Turner Constr. Co. v. United States, 94 Fed. Cl. 561, 586 (2010) (citation and internal
quotation marks omitted), aff’d, 645 F.3d 1377 (Fed. Cir. 2011). Here, the court has
concluded that plaintiff is likely to succeed on the merits of its claim that defendant
improperly evaluated intervenor-defendant’s Factor 5, Price Scenario 6. Both defendant
and intervenor-defendant argue, however, that the public interest in national security

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should outweigh plaintiff’s concern for the integrity of the procurement process. See
ECF No. 137 at 63-65; ECF No. 139 at 64-66.

       The court takes seriously the national security concerns implicated by the JEDI
program. But the fact that defendant is operating without the JEDI program now cuts
against its argument that it cannot secure the nation if the program does not move
forward immediately. The court does not find, under the present circumstances, that the
benefits of the JEDI program are so urgently needed that the court should not review the
process to ensure the integrity of the procurement.

       For this reason, the public interest factor weighs in favor of plaintiff.

               5.      Balancing the Factors

       In considering whether injunctive relief is warranted, the court must balance the
relevant factors. No single factor is determinative, as “the weakness of the showing
regarding one factor may be overborne by the strength of the others.” FMC Corp. v.
United States, 3 F.3d 424, 427 (Fed. Cir. 1993).

        Here, plaintiff’s delay in filing for injunctive relief, the national security
implications present in this case, and the cost of delay, weigh against plaintiff.
Nonetheless, based on the evidence and argument presented by the parties, those
considerations are overborne by: (1) plaintiff’s likelihood of success on the merits; (2)
the irreparable harm plaintiff will suffer absent a preliminary injunction; (3) the ability
for defendant to continue the cloud computing solutions presently in use; (4) the public
interest in protecting the integrity of the procurement process; and (5) the requirement of
security as a means of ameliorating the financial risk to defendant and intervenor-
defendant. The court finds that, in this case, the factors weigh in favor of a preliminary
injunction. 8

       B.      Requirement of Security

        Under RCFC 65(c), plaintiff is required to “give[] security in an amount that the
court considers proper to pay the costs and damages sustained by any party found to have
been wrongfully enjoined or restrained.” The court finds that such security is warranted
in this case. “‘The amount of a bond is a determination that rests within the sound
discretion of a trial court.’” Serco, Inc. v. United States, 101 Fed. Cl. 717, 722 (2011)
(citing Sanofi-Synthelabo v. Apotex, Inc., 470 F.3d 1368, 1385 (Fed. Cir. 2006)).


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       Because the court finds the error with regard to defendant’s evaluation of intervenor-
defendant’s Factor 5, Price Scenario 6 is sufficient to justify preliminary injunctive relief, the
court does not evaluate in this opinion the remainder of the errors alleged by plaintiff.
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        Defendant suggests that the court require plaintiff to “post no less than $42 million
in security to account for the potential delay.” ECF No. 139 at 69. Defendant arrives at
this figure by multiplying its estimate that interim services may cost “between $5 million
and $7 million per month,” by its estimate that a preliminary injunction “could last for six
months or more.” Id. (citing ECF No. 139-3 at 6 (declaration of [ ])). In its reply,
plaintiff characterizes defendant’s security request as “grossly overstated,” and claims
that defendant’s “estimated financial harm is speculative and its methodology unsound,”
but offers no alternative estimates. ECF No. 144 at 33. Instead, plaintiff asks the court to
waive the security requirement. See id.

       In support of its proposed security amount, defendant cites to [ ] declaration. See
ECF No. 139 at 69. In his declaration, [ ] details the methods that he used to calculate
defendant’s potential loss by piecing together the services that would be available under
the JEDI program from other available products. See ECF No. 139-3 at 3-6. He
concludes that defendant “anticipates a financial harm of between $5 and $7 million
dollars every month that performance of the JEDI contract is delayed.” Id. at 6. He also
admits the costs are somewhat uncertain, explaining that “[t]he ultimate harm to [DOD]
would depend upon what share of cloud services that would have been provided under
JEDI that are ultimately provided by [plaintiff] or [intervenor-defendant] under other
already-available contracts.” Id. at 6. In addition, defendant notes that plaintiff’s
pending motion to supplement the administrative record and for discovery may extend
the length of a preliminary injunction. See ECF No. 139 at 69.

        In the court’s view, some degree of uncertainty or speculation is inherent in
defendant’s attempt to quantify the harm it may suffer as a result of the preliminary
injunction. Defendant appears to have made a good faith effort to identify and quantify
the potential harm it could suffer as a result of the preliminary injunction if it ultimately
prevails on the merits in this case. Plaintiff has not offered alternative calculations, nor
does it specify the parts of [ ] analysis with which it disagrees. As such, [ ] calculations
are the only evidence from which the court can determine the proper security amount.

        The court concludes that considering defendant’s calculations, and plaintiff’s
pending request to supplement the administrative record and to conduct discovery, the
provision of security in an amount of $42 million to cover six months of anticipated
costs, is warranted.




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IV.    Conclusion

       Accordingly, for the reasons explained in this opinion:

       (1)    Plaintiff’s motion for a PI, ECF No. 130, 9 is GRANTED;

       (2)    The United States, by and through the Department of Defense, its officers,
              agents, and employees, is hereby PRELIMINARILY ENJOINED from
              proceeding with contract activities under Contract No. HQ0034-20-D-
              0001, which was awarded under Solicitation No. HQ0034-18-R-0077,
              until further order of the court;

       (3)    Pursuant to RCFC 65(c), plaintiff is directed to PROVIDE security in the
              amount of $42 million for the payment of such costs and damages as may
              be incurred or suffered in the event that future proceedings prove that this
              injunction was issued wrongfully. As such, on or before February 20,
              2020, plaintiff is directed to FILE a notice of filing on the docket in this
              matter indicating the form of security obtained, and plaintiff shall
              PROVIDE the original certification of security to the Clerk of Court. 10
              The clerk shall HOLD the security until this case is closed; and

       (4)    On or before February 27, 2020, the parties are directed to CONFER and
              FILE a notice of filing attaching a proposed redacted version of this
              opinion, with any competition-sensitive or otherwise protectable
              information blacked out.


       IT IS SO ORDERED.

                                            s/Patricia E. Campbell-Smith
                                            PATRICIA E. CAMPBELL-SMITH
                                            Judge




9
       Plaintiff’s motion was filed as a combined motion for a TRO and PI, but the court
previously determined the request for a TRO is moot. See infra at 2 n.2.
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       The court refers plaintiff to RCFC 65.1, which provides guidance on acceptable sureties,
and plaintiff is encouraged to contact the Clerk of Court, Lisa Reyes, at 202-357-6406 with any
questions. A surety bond for a preliminary injunction can be found in the court’s rules, see
RCFC, Appendix of Forms, Form 11.
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